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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

RO CHER ENTERPRISES, INC.,
     Plaintiff,
                                                      Case No. ______________
          v.
UNITED STATES ENVIRONMENTAL PRO-
TECTION AGENCY; MICHAEL S. REGAN,
Administrator of EPA; DEBRA SHORE,
Regional Administrator, EPA Region 5;
MICHAEL D. HARRIS, Division Director,
Enforcement and Compliance Assurance
Division, EPA Region 5,
     Defendants.

                        VERIFIED COMPLAINT
               FOR INJUNCTIVE AND DECLARATORY RELIEF
      Ro Cher Enterprises, Inc. is a small, family-owned business founded in 1983

and still operated by husband-and-wife Roger and Cheryl Janakus. Ro Cher sells

doors and windows mainly through its warehouse store in Downers Grove, Illinois.

The Environmental Protection Agency has commenced an unconstitutional in-house

proceeding against Ro Cher alleging eight paperwork violations of the Toxic Sub-

stances Control Act (TSCA). Ro Cher denies the allegations and, in any event, EPA

does not allege that toxic substances were mishandled. But EPA nonetheless seeks

an order—from itself—imposing penalties against Ro Cher for up to $46,989 per vio-

lation per day—i.e., up to almost $400,000 per day.

      This Court’s attention is required because EPA’s proceeding suffers from con-

stitutional defects that inflict upon Ro Cher “here-and-now” injuries which can be

remedied only by an Article III court.


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      EPA’s action against Ro Cher is unconstitutional under the Appointments

Clause, Article III, and the Constitution’s numerous guarantees of fair process. Nei-

ther the individual presiding over the action (purportedly an administrative law

judge (ALJ)) nor members of the EPA’s Administrative Appeals Board, which reviews

initial ALJ decisions, were properly appointed to office. They therefore lack the au-

thority to carry out the functions of those offices, and their actions are void. EPA’s in-

house proceeding violates Article III because EPA’s claims against Ro Cher must be

adjudicated in an Article III court in front of an independent, life-tenured judge.

EPA’s in-house proceeding also violates Ro Cher’s Fifth Amendment right to Due Pro-

cess of Law and its Seventh Amendment Right to a jury. Finally, EPA seeks a penalty

against Ro Cher that violates the Eighth Amendment’s bar on excessive fines.

      Ro Cher’s “here-and-now” irreparable constitutional injuries continue so long

as EPA’s in-house proceeding continues. Through this Verified Complaint, Ro Cher

asks the Court to issue an order (a) declaring EPA’s proceeding and requested penalty

unconstitutional, and (b) temporarily and permanently enjoining EPA from continu-

ing its in-house proceeding.

                           JURISDICTION AND VENUE
      1.     This action arises under the Constitution and laws of the United States,

and this Court has federal-question jurisdiction under Article III of the Constitution

and 28 U.S.C. § 1331. See Axon Enter., Inc. v. FTC, 598 U.S. 175 (2023).

      2.     Jurisdiction is also proper under the Due Process Clause of the Fifth

Amendment to the United States Constitution.




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       3.     The Court has jurisdiction to issue declaratory and injunctive relief pur-

suant to 28 U.S.C. §§ 2201 and 2202, and 28 U.S.C. § 1361.

       4.     Venue is proper under 28 U.S.C. § 1391(e).

                                    THE PARTIES
       5.     Plaintiff Ro Cher Enterprises, Inc. is an Illinois corporation, with its

principal place of business in Downers Grove, Illinois.

       6.     Defendant United States Environmental Protection Agency is an execu-

tive agency of the United States.

       7.     Defendant Michael S. Regan is the Administrator of EPA and is sued in

his official capacity.

       8.     Defendant Debra Shore is the Regional Administrator of EPA Region 5

and is sued in her official capacity.

       9.     Defendant Michael D. Harris is the Division Director, Enforcement and

Compliance Assurance Division, EPA Region 5, and is sued in his official capacity.

                                    BACKGROUND
                                 Ro Cher Enterprises
       10.    Ro Cher is a family-owned company founded in 1983 by the husband-

and-wife team of Roger Janakus and Cheryl Janakus.

       11.    Before starting Ro Cher more than 40 years ago, Roger worked as a gen-

eral contractor building homes and additions. Like most contractors at the time, he

bought doors and windows at lumberyards. But also like many contractors, he found

the selection of doors and windows, and the knowledge of lumberyard employees, se-




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verely lacking. Roger saw an opportunity to create a business serving both contrac-

tors and homeowners—an outlet offering extensive knowledge about considerations

that go into deciding on the right doors and windows, including styles, materials,

glass options, function, quality, and cost. Roger and Cheryl came up with the idea for

a Door & Window Warehouse Outlet to fill this unmet service.

      12.    Now, Ro Cher sells doors and windows, primarily from its showroom in

Downers Grove, Illinois. It has a few full-time and part-time employees.

      13.    At all times relevant to EPA’s administrative complaint: Aside from

helping customers select the right doors and windows, Ro Cher has also referred cus-

tomers to factory-trained installation companies that Ro Cher knows and trusts. The

installation companies are not affiliated with Ro Cher—they are all independent con-

tractors. If a Ro Cher customer buys doors or windows and asks for an installation

reference, Ro Cher offers a referral, after which the installation company contacts the

customer, arranges for an in-home inspection, verifies measurements, and returns

the information to Ro Cher’s sales staff to ensure the customer receives the correct

products. When the products arrive at Ro Cher, Ro Cher alerts the installer, who

arranges an installation date with the customer. The installation companies, as in-

dependent contractors, also do work for customers of other door-and-window compa-

nies. None of the installers are or have ever been Ro Cher employees. Ro Cher does

not receive a “finder’s fee” from the installation companies or percentage of the fees

charged by the installation companies.




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      14.    At all times relevant to EPA’s administrative complaint, Ro Cher did not

perform or direct renovations or installations.

      15.    At all times relevant to EPA’s administrative complaint, Ro Cher itself

did not perform or direct renovations or installations for compensation.

      16.    During the four decades in which Ro Cher has been in business, it has

served over 100,000 customers. Most of its business comes through repeat customers

and referrals. Ro Cher looks forward to many more years of providing excellent prod-

ucts and service to its existing and future customers.

                           EPA’s Unconstitutional
                  Administrative Proceeding Against Ro Cher
      17.    The Constitution divides the federal government’s power into three sep-

arate branches: Legislative, Executive, and Judicial. This structure purposefully dif-

fuses the government’s power to secure the liberty and property of the governed.

When the government seeks to restrict liberty and property—as it does here—it must

proceed through all three branches. That is, the Executive Branch must enforce a law

enacted by Congress (with the President’s signature or with a veto-proof majority),

and the Executive must prove its case in front of an independent, life-tenured judge

and, where appropriate, jury. Here, therefore, EPA’s administrative adjudication vi-

olates the Constitution’s separation of powers by concentrating the government’s dif-

fuse powers. EPA lawyers initiated an enforcement action in EPA’s own tribunal—

not an Article III court—before another EPA employee—who is not an independent,

Article III judge. An appeal of an initial decision goes to EPA’s Environmental Ap-

peals Board, which is also not an Article III court. In effect, therefore, EPA seeks a



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ruling from itself that Ro Cher violated the TSCA and should pay exorbitant penal-

ties.

         18.   EPA, by a purportedly lawful delegation to Defendant Michael D. Har-

ris, filed an in-house complaint against Ro Cher. See In the Matter of Ro Cher Enter-

prises, Inc. a/k/a Door and Window Warehouse Outlet, Inc., Door and Window Ware-

house, Co. and/or Door and Window Superstore, EPA Docket No. TSCA-05-2023-004

(Ro Cher Matter). Attached as Exhibit 1 is a true and correct copy of EPA’s adminis-

trative complaint (without its exhibits) in the Ro Cher Matter. 1

         19.   EPA alleges violations of Subchapter IV of the TSCA, 15 U.S.C. §§ 2601–

2629, 2681–2692 (Lead Exposure Reduction), and seeks civil penalties of up to

$46,989 per violation per day.

         20.   Relevant here, the TSCA imposes requirements concerning the renova-

tion of “target housing,” i.e., “housing constructed prior to 1978, except housing for

the elderly or persons with disabilities or any 0-bedroom dwelling (unless any child

who is less than 6 years of age resides or is expected to reside in such housing).” 15

U.S.C. § 2681(17). See also id. (“In the case of jurisdictions which banned the sale or

use of lead-based paint prior to 1978, the Secretary of Housing and Urban Develop-

ment, at the Secretary’s discretion, may designate an earlier date.”).

         21.   The TSCA also required EPA to promulgate regulations to administer

the law. See, e.g., 15 U.S.C. § 2682 (requiring EPA Administrator to promulgate

guidelines for reducing lead exposure during renovations of target housing).


1 See https://yosemite.epa.gov/oarm/alj/alj_web_docket.nsf/f22b4b245fab46c6852570e6004d

f1bd/9930a0f3413f3a98852589e500427b04!OpenDocument.


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      22.    EPA promulgated relevant regulations at 40 C.F.R. Part 745, Subpart E

(Residential Property Renovation) and Subpart L (Lead-Based Paint Activities).

      23.    The TSCA requires that renovations and remodeling of target housing

for compensation be carried out by those with EPA certificates. 15 U.S.C. § 2682; 40

C.F.R. Subpart E; see also 40 C.F.R. § 745.83 (defining renovation to mean, inter alia,

the “modification of any existing structure, or portion thereof” but not “minor repair

and maintenance activities”).

      24.    EPA also promulgated regulations for “work practice standards.” 40

C.F.R. § 745.85. Those who perform renovations must, for example, “post signs clearly

defining the work area and warning occupants and other persons not involved in ren-

ovation activities to remain outside of the work area”; “isolate the work area so that

no dust or debris leaves the work area while the renovation is being performed”; for

interior renovations, “[c]over the floor surface, including installed carpet, with taped-

down plastic sheeting or other impermeable material in the work area 6 feet beyond

the perimeter of surfaces undergoing renovation or a sufficient distance to contain

the dust, whichever is greater”; for exterior renovations, “[c]over the ground with

plastic sheeting or other disposable impermeable material extending 10 feet beyond

the perimeter of surfaces undergoing renovation or a sufficient distance to collect fall-

ing paint debris, whichever is greater, unless the property line prevents 10 feet of

such ground covering”; contain waste “to prevent releases of dust and debris before

the waste is removed from the work area for storage or disposal”; and verify that no




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dust, debris, and residue from renovations remain. Id. §§ 745.85(a)(1), (a)(2),

(a)(2)(i)(D), (a)(4)(i), (b)(1)(a).

       25.     Those who perform renovations of target housing for compensation must

provide an EPA pamphlet concerning lead hazards and obtain written confirmation

of receipt from the owners or occupiers of target housing. 15 U.S.C. § 2686(b); 40

C.F.R. § 745.84.

       26.     It is “unlawful for any person to fail or refuse to comply with” 15 U.S.C.

§§ 2681–2692 or “with any rule or order issued under” §§ 2681–2692. Id. § 2689.

       27.     EPA filed its administrative complaint against Ro Cher in April 2023,

alleging violations of the TSCA.

       28.     EPA alleges that Ro Cher was a “firm” as defined by 40 C.F.R. § 745.83;

that Ro Cher contracted, for compensation, to replace windows at seven residences

that met the definition of “target housing”; that Ro Cher’s “subcontractor” performed

renovations at these residences; that Ro Cher did not have an EPA certificate when

these renovations were performed; and that Ro Cher did not obtain written acknowl-

edgements from the residences’ owners that they had received the EPA lead-hazards

pamphlet. See Ex. 1, EPA Admin. Compl. ¶¶ 37, 47–60, 74–84.

       29.     Based on these allegations, EPA asserts eight violations of the TSCA:

one violation for failure to have a firm certification and seven violations for failing to

obtain written acknowledgements of receipt of the EPA lead-hazards pamphlet. See

Ex. 1, EPA Admin. Compl. ¶¶ 63–84.




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       30.    EPA does not allege that lead-based paint—or any other substance sub-

ject to the TSCA—was in any way mishandled; nor does EPA allege that any lead-

related hazards occurred.

       31.    Nonetheless, through its in-house proceeding, EPA seeks—from itself—

a determination that Ro Cher failed to obtain an EPA Firm Certification pursuant to

40 C.F.R. §§ 745.89(a) and 745.81(a)(2)(ii), and 15 U.S.C. § 2689. Ex. 1, EPA Admin.

Compl. ¶¶ 63–73.

       32.    Further, through this in-house proceeding, EPA seeks—from itself—a

determination that Ro Cher failed to obtain written acknowledgements from the own-

ers of seven single-family dwelling units pursuant to 40 C.F.R. § 745.84 and 15 U.S.C.

§ 2689. Ex. 1, EPA Admin. Compl. ¶¶ 74–84.

       33.    Finally, through its in-house proceeding, EPA seeks—from itself—an or-

der compelling Ro Cher to pay a civil penalty of up to $49,989 per violation per day,

in addition to any other relief that “this [EPA] Court [sic] may deem just and proper.”

Ex. 1, EPA Admin. Compl. ¶¶ 34, 88.

                               The Constitution’s
                 Structural Protections Against Arbitrary Power
       34.    The Constitution vests “[a]ll legislative Powers herein granted” in Con-

gress. U.S. CONST. art. I, § 1.

       35.    The Constitution vests all of “[t]he executive Power in [the] President of

the United States,” who is duty-bound to “take Care that the Laws be faithfully exe-

cuted.” U.S. CONST. art. II, § 1, cl. 1; § 3.




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       36.    The Constitution provides for executive officers to help the President

carry out his obligations.

       37.    The Appointments Clause of the United States Constitution requires all

“Officers of the United States” to be appointed pursuant to its requirements. U.S.

CONST. art. II, § 2, cl. 2. The Appointments Clause helps ensure that officers are ac-

countable to the President and, through the President, to the people.

       38.    An officer is any government official who holds a continuing office vested

with significant authority and discretion under federal law. Any position vested with

this power—i.e., any “office” of the United States—must be filled pursuant to the Ap-

pointments Clause.

       39.    The Appointments Clause recognizes two types of officers: those who ex-

ercise significant authority and those who don’t. The first, typically called “principal”

officers, must be nominated by the President and confirmed by the Senate. The sec-

ond, known as inferior officers, must also be appointed by the President and con-

firmed by the Senate, except that Congress may “by Law” authorize the President

alone, the Courts of Law, or the Heads of Departments to appoint inferior officers.

U.S. CONST. art. II, § 2, cl. 2.

       40.    The Constitution also established a judiciary—independent of the legis-

lative and executive branches. The Constitution vests “[t]he judicial Power of the

United States . . . in one supreme Court, and in such inferior Courts as the Congress

may from time to time ordain and establish.” U.S. CONST. art. III, § 1. To further

ensure independent judgment, the Constitution provides that the “Judges, both of the




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supreme and inferior Courts shall hold their Offices during good Behaviour, and

shall, at stated Times, receive for their Services, a Compensation, which shall not be

diminished during their Continuance in Office.” Id. Article III guarantees an impar-

tial and independent federal adjudication concerning the potential deprivation of pri-

vate rights—such as restrictions on lawful businesses and impositions of monetary

penalties—and it precludes the exercise of core judicial power by a coordinate branch

of government.

                     The Environmental Protection Agency’s
                       Structural Constitutional Defects
      41.    EPA was established through Reorganization Plan No. 3 of 1970, not

through an enabling act of Congress. 84 Stat. 2086 (Dec. 2, 1970), as amended, re-

printed in 5 U.S.C. app. 1. See id. § 1(a).

      42.    EPA is headed by an Administrator, who is nominated by the President

and confirmed by the Senate. Id. § 1(b); 40 C.F.R. § 1.23.

      43.    EPA consists of a Headquarters and ten Regional Offices. 40 C.F.R.

§§ 1.5, 1.61. Each Regional Office is headed by a Regional Administrator, who is re-

sponsible for, inter alia, enforcement within the respective region. Id. § 1.61(d).

      44.    EPA is authorized to seek civil penalties for violations of the TSCA

through administrative hearings in accordance with 5 U.S.C. § 554. See 15 U.S.C.

§ 2615(a)(2)(A).

      45.    As noted above, EPA’s administrative action against Ro Cher is

brought—through a purportedly lawful delegation—in the name of Defendant




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Michael D. Harris, Director of the Enforcement and Compliance Assurance Division

for EPA Region 5. See Ex. 1, EPA Admin. Compl. ¶ 2.

      46.      EPA prosecutes its in-house administrative actions pursuant to its Con-

solidated Rules of Practice Governing the Administrative Assessment of Civil Penal-

ties and the Revocation/Termination or Suspension of Permits, 40 C.F.R., Part 22

(Consolidated Rules); see 40 C.F.R. § 22.1(a)(5). See Ex. 1, EPA Admin. Compl. ¶ 89.

      47.      EPA administrative adjudications are overseen by a “Presiding Officer,”

who must be an administrative law judge (ALJ). 40 C.F.R. § 22.3(a); see also 5 U.S.C.

§ 556(b)(3).

      48.      Respondents are not afforded a jury in EPA’s administrative hearings.

      49.      Here, Susan L. Biro, purportedly EPA’s Chief Administrative Law

Judge, designated herself to preside over the Ro Cher Matter. See July 13, 2023 Order

of Designation. A true and correct copy of this order is attached as Exhibit 2. 2

      50.      Ms. Biro was purportedly appointed to office by EPA’s Administrator.

See Exhibit 3; https://www.epa.gov/system/files/images/2022-01/biro-epa-alj-certifi-

cate-of-appointment-5-23-1997.jpg (last visited Nov. 15, 2023); see generally https://

www.epa.gov/aboutepa/epas-administrative-law-judges (last visited Nov. 15, 2023).

      51.      EPA ALJs are not appointed by the President or confirmed by the

Senate.




2 See https://yosemite.epa.gov/oarm/alj/alj_web_docket.nsf/f22b4b245fab46c6852570e6004df

1bd/9930a0f3413f3a98852589e500427b04!OpenDocument.


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       52.     EPA ALJs may not be removed, suspended, or have their pay or pay-

grade reduced, except for cause and with the agreement of the Merit Systems Protec-

tion Board (MSPB). 5 U.S.C. § 7521 (excepting reductions in force, employment ac-

tions taken for national security reasons, and disciplinary actions proposed by a Spe-

cial Counsel and approved by the MSPB).

       53.     EPA ALJs wield significant discretionary powers. Among other things,

EPA ALJs administer oaths, issue subpoenas and “all necessary orders,” “[e]xamine

witnesses,” rule on the admissibility of evidence, and punish discovery violations with

adverse inferences. 40 C.F.R. § 22.4(c) (defining powers of the Presiding Officer); id.

§ 22.3(a) (defining Presiding Officer to be an ALJ); see also 5 U.S.C. § 556(c). They

also decide questions of both law and fact and, ultimately, decide a respondent’s lia-

bility in an “initial decision.” 40 C.F.R. § 22.27.

       54.     An ALJ’s initial decision becomes EPA’s final decision 45 days after ser-

vice to the parties, unless a party appeals the initial decision to EPA’s Environmental

Appeals Board (EAB) or the EAB initiates review sua sponte. 40 C.F.R. § 22.27(c). A

finalized ALJ decision “constitutes the final Agency action.” Id. § 22.31(a).

       55.     If the ALJ’s initial decision is reviewed by the EAB, the EAB may “adopt,

modify, or set aside the findings of fact and conclusions of law or discretion.” 40 C.F.R.

§ 22.30(f). After completing its review, the EAB issues its decision in a final order,

which “constitutes the final Agency action.” Id. § 22.31(a).

       56.     The EAB typically sits in three-member panels and decides cases by ma-

jority vote.




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      57.    The EAB is composed of four members of the career Senior Executive

Service.

      58.    As members of the career Senior Executive Service, EAB members are

selected through the civil service’s merit staffing process, which identifies the most

qualified applicants based on non-political criteria.

      59.    Members of the career Senior Executive Service cannot be fired without

cause or, during changes in leadership, see 5 C.F.R. § 317.901, be reassigned out of

their positions without their consent.

      60.    EAB members are not nominated by the President or confirmed by the

Senate.

      61.    The EPA Administrator designates EAB members from among those

identified as most qualified. 40 C.F.R. § 1.25(e)(1).

      62.    The parties may not appeal to the EPA Administrator from an ALJ or

EAB decision (except where the decision is directed against another federal agency).

40 C.F.R. § 22.31(e)(1). Nor may the Administrator initiate review of an ALJ or EAB

decision. Id. § 22.4(a)(1). Instead, the Administrator may consider matters only if and

when the EAB allows him to do so “in its discretion.” Id. In such a case, the decision

of the Administrator constitutes the final agency action. See id.; id. § 22.31(a).

      63.    Only after this process is complete may the unsuccessful respondent

seek review in a court of law. 15 U.S.C. § 2615(c).




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               Ro Cher’s Here-and-Now Constitutional Injuries
               Continue So Long as EPA’s Proceeding Continues
      64.    EPA’s administrative adjudicatory scheme hales Ro Cher before an in-

dividual who was never constitutionally appointed as an ALJ and who therefore lacks

the power of that office. And EPA’s proceeding compels Ro Cher to plead its case in

an unlawfully constituted forum.

      65.    Moreover, review of initial decisions is carried out by EPA’s Environ-

mental Appeals Board, whose members were not validly appointed. Accordingly, EAB

members lack the authority of that office, and they cannot lawfully oversee or review

initial administrative decisions.

      66.    EPA’s administrative proceeding also deprives Ro Cher of its constitu-

tional rights guaranteed under Article III and the Fifth, Seventh, and Eighth Amend-

ments.

      67.    This case is currently justiciable because EPA’s administrative adjudi-

cation has been initiated, and Ro Cher is currently subject to EPA’s and Ms. Biro’s

authority in the administrative adjudication.

      68.    Because of these constitutional violations, Ro Cher is suffering “here-

and-now” constitutional injuries that can be remedied (only) by an Article III court.

      69.    Ro Cher’s injuries continue as long as it remains subject to EPA’s in-

house proceeding.

      70.    And Ro Cher’s injuries are impossible to remedy once the proceeding is

over, because, at that point, Ro Cher will have lost its right not to undergo the EPA’s

in-house proceeding.



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       71.    Nor can Ro Cher obtain a remedy for its structural constitutional claims

through judicial review after EPA’s proceeding is over because a proceeding that has

already happened cannot be undone. Judicial review would come too late.

       72.    Money damages in this case are not available to Ro Cher.

       73.    Therefore, Ro Cher has no plain, speedy, and adequate remedy at law

for its injuries.

       74.    Without this Court’s review, Ro Cher will be irreparably harmed by be-

ing compelled to defend itself before an unconstitutionally structured proceeding, in

front of a presiding officer who was not properly appointed to an ALJ office and who

is overseen by other officials (members of the EAB) who were not validly appointed

to office, and in violation of Ro Cher’s rights guaranteed by Article III, and the Fifth,

Seventh, and Eighth Amendments.

       75.    A decision declaring that Ms. Biro was not validly appointed under the

Appointments Clause and thus without power to preside over the adjudication, and

an injunction preventing Ms. Biro from so presiding, would remedy Ro Cher’s here-

and-now injury.

       76.    A decision declaring that members of the EPA’s Administrative Appeals

Board were not validly appointed under the Appointments Clause and thus without

power of that office, and an injunction preventing them from so acting, would remedy

Ro Cher’s here-and-now injury.




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        77.   A decision declaring that, because the judicial power of the United

States is vested solely in the judicial branch, EPA’s administrative proceeding vio-

lates Article III of the Constitution, and an injunction preventing EPA from proceed-

ing against Ro Cher in-house, would remedy Ro Cher’s injury.

        78.   A decision declaring that EPA’s administrative proceeding violates the

Due Process Clause of the Fifth Amendment to the Constitution, and an injunction

preventing EPA from proceeding against Ro Cher in-house, would remedy Ro Cher’s

injury.

        79.   A decision declaring that EPA’s administrative proceeding violates the

Seventh Amendment to the Constitution, and an injunction preventing EPA from

proceeding against Ro Cher in-house, would remedy Ro Cher’s injury.

        80.   An order declaring that EPA’s administrative action against Ro Cher

violates the Eighth Amendment to the Constitution would remedy Ro Cher’s injury.

        81.   Therefore, declaratory and injunctive relief are appropriate to resolve

this controversy.

                                      COUNT I
 MS. BIRO WAS NOT PROPERLY APPOINTED UNDER THE APPOINTMENTS CLAUSE,
                      U.S. CONST. ART. II, § 2, CL. 2
        82.   The preceding paragraphs are incorporated by reference.

        83.   EPA’s in-house proceedings are conducted under the Administrative

Procedure Act (5 U.S.C. §§ 551–559) and the procedures set forth in 40 C.F.R. Part

22.




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        84.     Susan L. Biro is purportedly the Chief Administrative Law Judge of the

EPA.

        85.     EPA ALJs possess significant and continuing federal authority. For ex-

ample, ALJs possess the authority to take testimony, conduct trials, rule on the ad-

missibility of evidence, punish a party’s failure to comply with a discovery order, and

decide cases.

        86.     EPA ALJs are officers of the United States.

        87.     EPA ALJs are executive officers of the United States.

        88.     EPA ALJs are principal officers of the United States.

        89.     As principal officers, EPA ALJs must be appointed by Presidential nom-

ination and Senate confirmation. U.S. CONST. art. II, § 2, cl. 2.

        90.     Ms. Biro was neither nominated by the President nor confirmed by the

Senate.

        91.     Accordingly, Ms. Biro has not been validly appointed as a principal of-

ficer under the Appointments Clause and thus has never been appointed as an EPA

ALJ.

        92.     Ms. Biro therefore lacks the authority of an EPA ALJ, including the au-

thority to conduct the administrative adjudication to which Ro Cher is currently sub-

ject.

        93.     Alternatively, even if EPA ALJs are inferior officers, Ms. Biro has not

been validly appointed as an inferior officer under the Appointments Clause and thus

was never appointed as an EPA ALJ.




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         94.    Ms. Biro has not been appointed by the default method for inferior offic-

ers, i.e., Presidential nomination and Senate confirmation. U.S. CONST. art. II, § 2,

cl. 2.

         95.    Additionally, Congress has not “by Law” vested the appointment of ALJs

in the President, a head of department, or a court of law.

         96.    Ms. Biro was not validly appointed by the President, a head of depart-

ment, or a court of law.

         97.    Therefore, whether Ms. Biro is a principal or inferior officer, she was not

validly appointed to office, she lacks the authority to oversee and review the Ro Cher

Matter, and her actions are void.

                                        COUNT II
  EAB MEMBERS WERE NOT PROPERLY APPOINTED UNDER THE APPOINTMENTS
                 CLAUSE, U.S. CONST. ART. II, § 2, CL. 2
         98.    The preceding paragraphs are incorporated by reference.

         99.    The Environmental Appeals Board (EAB) is a “permanent body,” 40

C.F.R. § 1.25(e)(1), composed of four members of the Senior Executive Service (SES)

selected by the EPA Administrator, 5 U.S.C. § 3131; see also The EPA’s Environmen-

tal Appeals Board at Twenty-five: An Overview of the Board’s Procedures, Guiding

Principles, and Record of Adjudicating Cases at 2. 3

         100.   The salary of an SES member is defined by 5 U.S.C. § 3131 (providing

authority to the U.S. Office of Personnel Management to promulgate regulations) and

5 C.F.R. § 214.201 (setting SES pay level).


3 See https://yosemite.epa.gov/oa/EAB_Web_Docket.nsf/8f612ee7fc725edd852570760071cb8e

/381acd4d3ab4ca358525803c00499ab0/$FILE/The%20EAB%20at%20Twenty-Five.pdf.


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       101.   EAB members wield significant authority because they exercise signifi-

cant discretion when carrying out important functions.

       102.   EAB members are officers of the United States.

       103.   EAB members are executive officers of the United States.

       104.   EAB members are principal officers of the United States.

       105.   As principal officers, EAB members must be appointed by the President

and confirmed by the Senate. U.S. CONST. art. II, § 2, cl. 2.

       106.   EAB members were neither appointed by the President nor confirmed

by the Senate.

       107.   Accordingly, EAB members have not been validly appointed as principal

officers under the Appointments Clause and, therefore, have not been properly ap-

pointed to the EAB.

       108.   EAB members therefore lack the authority of those offices.

       109.   Alternatively, even if EAB members are merely inferior officers, they

have not been properly appointed under the Appointments Clause.

       110.   Congress did not authorize the EPA Administrator or anyone else to ap-

point EAB members “by Law.” U.S. CONST. art. II, § 2, cl. 2.

       111.   Therefore, EAB members have not been appointed by the EPA Admin-

istrator. Nor were EAB members appointed by the President alone or by a court of

law. U.S. CONST. art. II, § 2, cl. 2.




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      112.   Whether EAB members are principal or inferior officers, they were not

validly appointed to office, they lack the authority of the EAB office, and their actions

are void.

                                      COUNT III
EPA IS NOT VESTED WITH THE JUDICIAL POWER OF THE UNITED STATES, AND ITS
     IN-HOUSE PROCEEDING THEREFORE VIOLATES U.S. CONST. ART. III
      113.   The preceding paragraphs are incorporated by reference.

      114.   The “judicial Power of the United States” is vested exclusively “in one

supreme Court, and in such inferior Courts as the Congress may from time to time

ordain and establish.” U.S. CONST. art. III, § 1. To help ensure independence, the

“Judges, both of the supreme and inferior Courts, shall hold their Offices during good

Behaviour, and shall, at stated Times, receive for their Services, a Compensation,

which shall not be diminished during their Continuance in Office.” Id.

      115.   The Constitution does not vest the “judicial power of the United States”

in the Executive Branch.

      116.   Through its in-house action, the Ro Cher Matter, EPA seeks an admin-

istrative order and judgment determining that Ro Cher violated the TSCA.

      117.   Through its in-house action, the Ro Cher Matter, EPA seeks an admin-

istrative order and judgment compelling Ro Cher to pay civil penalties.

      118.   EPA seeks to deprive Ro Cher of private rights.

      119.   Before depriving Ro Cher of its private rights, EPA must follow common-

law procedure—most fundamentally, by obtaining in the first instance a judgment

from an Article III court.




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        120.   Only courts of law, through the exercise of judicial power, may issue

judgments and deprive private parties of private rights.

        121.   Presiding over EPA’s in-house proceeding against Ro Cher is Susan L.

Biro.

        122.   Ms. Biro is not an Article III judge.

        123.   EPA is not an Article III court.

        124.   EPA Region 5 is not an Article III court.

        125.   The EPA’s in-house hearing is not an Article III court.

        126.   The EAB is not an Article III court.

        127.   No part of EPA’s in-house proceeding against Ro Cher is heard in an

Article III court or overseen by an Article III judge.

        128.   EPA’s in house proceeding against Ro Cher therefore violates Article III.

                                       COUNT IV
 THE EPA’S IN-HOUSE PROCEEDING VIOLATES RO CHER’S DUE PROCESS RIGHTS
                      UNDER U.S. CONST. AMEND. V
        129.   The preceding paragraphs are incorporated by reference.

        130.   The Fifth Amendment to the United States Constitution provides that

no person shall be “deprived of life, liberty, or property, without due process of law.”

U.S. CONST. amend. V.

        131.   The Due Process of Law Clause guarantees an independent judgment

by an independent judge.

        132.   The “judicial Power of the United States” is vested exclusively “in one

supreme Court, and in such inferior Courts as the Congress may from time to time




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ordain and establish.” U.S. CONST. art. III, § 1. To help ensure independence, the

“Judges, both of the supreme and inferior Courts, shall hold their Offices during good

Behaviour, and shall, at stated Times, receive for their Services, a Compensation,

which shall not be diminished during their Continuance in Office.” Id.

        133.   The Constitution does not vest the “judicial power of the United States”

in the Executive Branch.

        134.   Through its in-house action, the Ro Cher Matter, the EPA seeks an ad-

ministrative order and judgment—from itself—determining that Ro Cher violated

the TSCA and, as a result, that Ro Cher should be compelled to pay a civil penalty of

up to $46,989 per violation per day.

        135.   The EPA seeks to deprive Ro Cher of private rights.

        136.   The government may not deprive any person of private rights except

through common-law procedures—most fundamentally, through an Article III court.

        137.   Only courts of law, through the exercise of judicial power, may issue

judgments and deprive private parties of private rights.

        138.   Before depriving Ro Cher’s private rights, therefore, EPA must follow

common-law procedure and seek an independent judgment from an independent, Ar-

ticle III court.

        139.   Presiding over EPA’s in-house proceeding against Ro Cher is Susan L.

Biro.

        140.   Ms. Biro is not an Article III judge.

        141.   EPA is not an Article III court.




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        142.   EPA Region 5 is not an Article III court.

        143.   The EPA’s in-house hearing is not an Article III court.

        144.   The EAB is not an Article III court.

        145.   No part of EPA’s in-house proceeding against Ro Cher is heard in an

Article III court or overseen by an Article III judge.

        146.   EPA acts as prosecutor, judge, jury, and appellate court in its adminis-

trative proceeding against Ro Cher.

        147.   To the extent EPA seeks to adopt new, substantive rules or regulations

through in-house adjudicatory means, it also acts as a lawmaker.

        148.   Additionally, EPA’s Consolidated Rules themselves preclude fair hear-

ings.

        149.   EPA does not afford litigants the same procedural and evidentiary

rights as federal courts do.

        150.   For example, while the parties exchange “prehearing information”—i.e.,

the names of witnesses expected to be called at the hearing and the documents and

exhibits intended to be introduced at the hearing—parties must move for additional

discovery. 40 C.F.R. § 22.19(a), (e).

        151.   Similarly, unlike cases in federal court, the ALJ alone—not an individ-

ual party—decides whether subpoenas will issue. 40 C.F.R. § 22.19(e)(4).

        152.   Finally, because EPA is both prosecutor and judge, EPA’s proceedings

violate the ancient maxim—protected by the Due Process Clause—nemo iudex in

causa sua (“no one should be a judge in his own cause”). See The Federalist No. 10




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(“No man is allowed to be a judge in his own cause; because his interest would cer-

tainly bias his judgment, and not improbably, corrupt his integrity.”) (Madison).

      153.     EPA’s in-house proceeding, the Ro Cher Matter, violates Ro Cher’s Fifth

Amendment right to Due Process of Law.

                                      COUNT V
      EPA’S IN-HOUSE PROCEEDING VIOLATES RO CHER’S RIGHT TO A JURY
                      UNDER U.S. CONST. AMEND. VII
      154.     The preceding paragraphs are incorporated by reference.

      155.     The Seventh Amendment to the Constitution provides: “In Suits at com-

mon law, where the value in controversy shall exceed twenty dollars, the right of trial

by jury shall be preserved.” U.S. CONST. amend. VII.

      156.     Claims analogous to common law claims that existed at the time of the

Seventh Amendment’s ratification require a jury.

      157.     Claims that seek legal remedies require a jury.

      158.     In its in-house administrative action, EPA alleges that Ro Cher violated

the TSCA and seeks a civil penalty.

      159.     EPA’s claim is essentially a common law action in debt for which a jury

is required.

      160.     Independently, because EPA seeks a civil penalty—i.e., damages—a

jury is required.

      161.     Accordingly, Ro Cher is entitled to a jury trial in connection with the

EPA’s allegations that Ro Cher violated the TSCA and complaint for damages.




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      162.      EPA’s failure to afford Ro Cher a jury trial violates Ro Cher’s Seventh

Amendment right to a jury.

                                       COUNT VI
    EPA SEEKS AN EXCESSIVE FINE IN VIOLATION OF U.S. CONST. AMEND. VIII
      163.      The preceding paragraphs are incorporated by reference.

      164.      According to the Constitution, “excessive fines [shall not be] imposed.”

U.S. CONST. amend. VIII.

      165.      The Eighth Amendment precludes excessive fines in both civil and crim-

inal matters.

      166.      Here, EPA seeks a civil penalty in the amount of up to $46,989 per vio-

lation per day, in addition to any other relief that “th[e] [EPA] Court [sic] may deem

just and proper.” Ex. 1, EPA Admin. Compl. ¶¶ 34, 88.

      167.      The EPA alleges eight TSCA violations. Therefore, EPA seeks a civil

penalty of up to almost $400,000 per day.

      168.      Such a penalty is punitive.

      169.      Such a penalty is excessive—that is, grossly disproportionate—com-

pared to the paperwork violations of which Ro Cher is accused.

      170.      Accordingly, EPA’s administrative action for a civil penalty violates Ro

Cher’s Eighth Amendment right against the imposition of Excessive Fines.




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                               REQUEST FOR RELIEF
        WHEREFORE, Plaintiff Ro Cher Enterprises, Inc. prays for relief as follows:

        1.    An order declaring that, because Ms. Biro was not properly appointed

as an ALJ under the Constitution, EPA’s structure violates Article II of the Constitu-

tion.

        2.    An order declaring that, because the Members of the EPA’s Administra-

tive Appeals Board were not properly appointed under the Constitution’s Appoint-

ments Clause, EPA’s structure violates Article II of the Constitution.

        3.    An order declaring that, because the judicial power of the United States

is vested solely in the judicial branch, EPA’s administrative proceeding violates Arti-

cle III of the Constitution.

        4.    An order declaring that EPA’s administrative proceeding violates the

Due Process Clause of the Fifth Amendment to the Constitution.

        5.    An order declaring that EPA’s administrative proceeding violates the

Seventh Amendment to the Constitution.

        6.    An order declaring that EPA’s administrative action against Ro Cher

violates the Eighth Amendment to the Constitution.

        7.    A preliminary and permanent injunction enjoining EPA from continuing

its administrative proceeding In the Matter of Ro Cher Enterprises, Inc. a/k/a Door

and Window Warehouse Outlet, Inc., Door and Window Warehouse, Co. and/or Door

and Window Superstore, EPA Docket No. TSCA-05-2023-004.

        8.    An award of reasonable attorney’s fees and costs, pursuant to 42 U.S.C.

§ 1988 and any other applicable authority.


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     9.    All other relief the Court deems just and proper.



DATED: November 16, 2023.

                                     Respectfully submitted,

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